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                          EXHIBIT C
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From:                              Parks, Gregory T.
Sent:                              Tuesday, October 26, 2021 2:50 PM
To:                                steven.moser@moserlawfirm.com; paul.pagano@moserlawfirm.com
Cc:                                Shaw, Nina
Subject:                           RE: Caccavale, et al. v. Hewlett-Packard Company, et al.


Steve and Paul,

I am writing to confirm that, after conducting a reasonable search of its records, ADP has completed its production of
documents related to Hewlett-Packard per your September 9, 2021 Subpoena (“Subpoena”) and ADP has no further
responsive documents to produce. I want to be sure you understand why ADP does not have documents that you
appear to believe ADP should have.

First, I want to explain ADP’s “processing service model.” Under this model, ADP licenses a software program to its
client that the client can then use to do payroll processing itself. In this model, ADP does not touch or have access to the
actual payroll data. Prior to the split that created HPI and HPE, Hewlett-Packard was on this processing service
model. That means ADP had no access to any payroll data. After the split, HPE continued to be on a processing service
model, and continues to be through today. Immediately after the split, HPI (the traditional computer and printer
business) was still on the processing service model. Several years after that, HPI moved to a managed process
model. I understand that there is a dispute between you and Hewlett Packard as to whether HPI information is
relevant in this case and in what time frame. I further understand that issue has been brought to the Court for
resolution. But even if the Court concludes that HPI data from years after the split is relevant, ADP would still not be in
possession of any relevant data. Although HPI came to use “managed service model,” this just means that HPI provides
data to ADP and ADP uses that data to generate a pay statement. Any data that ADP would have, you could obtain from
HPI. In addition, at all times, HPI did not use ADP’s time tracking program. Instead, HPI used a separate time tracking
function. That means the details of what time was worked when are not available in ADP’s records. Accordingly, ADP’s
data would not in any way indicate whether hours were worked in the first week or second week of a two week period.

Second, ADP conducted a reasonable search of its records for the reports and other documents the Subpoena seeks and
did not find any additional responsive documents beyond what has already been produced. ADP’s Vice President, Global
Client Success Executive directed a reasonable search for any communications with HPE, HPI, or its attorneys related to
this Action and for any records involving HPE, HPI, or its attorneys related to payroll reports for New York state
employees. This included contacting the ADP Regional Service Relationship Managers (“RSMs”), who would have been
the ADP employees who interacted with HPE or HPI and who would have prepared any such reports. None of the RSMs
recalled a report like the ones suggested in the subpoena. The RSMs nonetheless searched their emails, meeting/call
notes, and any other documents for the HPI and HPE accounts for anything related to New York or New York
employees. The RSMs did not find any requests for reports or records of reports being created. The RSMs also searched
ADP’s service records database—which houses all ADP-generated service reports and client requests—for any requests
by HPE or HPI or its attorneys related to payroll information for New York employees, or related to New York more
generally. The RSMs did not find evidence of any such request from HPE or HPI or of any cost estimates conducted by
ADP related to payroll information concerning this Action.

Based on the above reasonable search, ADP has concluded its production of documents related to HPE and HPI in
response to your September 9, 2021 Subpoena. Please confirm that you will not need to pursue a deposition pursuant
to that subpoena.

Regards,


                                                             1
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-Greg…




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From: Shaw, Nina <nina.shaw@morganlewis.com>
Sent: Thursday, October 14, 2021 4:37 PM
To: steven.moser@moserlawfirm.com; paul.pagano@moserlawfirm.com
Cc: Parks, Gregory T. <gregory.parks@morganlewis.com>
Subject: RE: Caccavale, et al. v. Hewlett-Packard Company, et al.

Counsel,

Please see attached correspondence.

Best,
Nina

Nina Shaw
Morgan, Lewis & Bockius LLP
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From: Shaw, Nina
Sent: Monday, October 11, 2021 8:35 AM
To: 'steven.moser@moserlawfirm.com' <steven.moser@moserlawfirm.com>; 'paul.pagano@moserlawfirm.com'
<paul.pagano@moserlawfirm.com>
Cc: Parks, Gregory T. <gregory.parks@morganlewis.com>
Subject: Caccavale, et al. v. Hewlett-Packard Company, et al.

Counsel,

Please see attached correspondence.

                                                                                                                          2
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Regards,
Nina

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